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                      EXHIBIT A
               Case 3:21-cv-16351-FLW-DEA Document 1-1 Filed 09/01/21 Page 2 of 3 PageID: 7

                                                        Case Summary
Case Number: SOM L-000719-21
Case Caption: Hale James Vs Lyons Va Medical Cen Ter
Court: Civil Part                                  Venue: Somerset               Case Initiation Date: 05/21/2021
Case Type: Personal Injury                         Case Status: Active           Jury Demand: 6 Jurors
Case Track: 2                                      Judge: Thomas C Miller        Team: 1
Original Discovery End Date:                       Current Discovery End Date:   # of DED Extensions: 0
Original Arbitration Date:                         Current Arbitration Date:     # of Arb Adjournments: 0
Original Trial Date:                               Current Trial Date:           # of Trial Date Adjournments: 0
Disposition Date:                                  Case Disposition: Open        Statewide Lien:

Plaintiffs
James Hale

Party Description: Individual                                                    Attorney Name: Frederick Richard
                                                                                 Dunne
Address Line 1:                                               Address Line 2:    Attorney Bar ID: 008042009

City:                            State: NJ                    Zip: 00000         Phone:

Attorney Email: CHIP@DUNNECOHEN.COM

Defendants
State Of New Jersey
Party Description: State Of Nj                                                   Attorney Name:
Address Line 1:                                               Address Line 2:    Attorney Bar ID:
City:                            State: NJ                    Zip: 00000         Phone:
Attorney Email:
Lyons Va Medical Center
Party Description: Business                                                      Attorney Name:
Address Line 1: 151 Knollcroft Road                           Address Line 2:    Attorney Bar ID:

City: Lyons                   State: NJ                     Zip: 07393           Phone:
Attorney Email:
United States Department Of Ve AKA United States Department Of Veteran Affairs
Party Description: Business                                                      Attorney Name:
Address Line 1:                                               Address Line 2:    Attorney Bar ID:
City:                            State: NJ                    Zip: 00000         Phone:
Attorney Email:
Abc Corp 1-10
Party Description: Fictitious                                                    Attorney Name:
Address Line 1:                                               Address Line 2:    Attorney Bar ID:
City:                            State: NJ                    Zip: 00000         Phone:
Attorney Email:
Jane Does 1-10
Party Description: Fictitious                                                    Attorney Name:
Address Line 1:                                               Address Line 2:    Attorney Bar ID:
City:                            State: NJ                    Zip: 00000         Phone:
Attorney Email:
John Does 1-10
Party Description: Fictitious                                                    Attorney Name:
Address Line 1:                                               Address Line 2:    Attorney Bar ID:
City:                            State: NJ                    Zip: 00000         Phone:
Attorney Email:
               Case 3:21-cv-16351-FLW-DEA Document 1-1 Filed 09/01/21 Page 3 of 3 PageID: 8

Case Actions
Filed Date     Docket Text                                                                    Transaction ID   Entry Date
               Complaint with Jury Demand for SOM-L-000719-21 submitted by DUNNE, FREDERICK
               RICHARD, DUNNE DUNNE & COHEN LLC on behalf of JAMES HALE against LYONS
05/21/2021                                                                                    LCV20211265823   05/21/2021
               VA MEDICAL CENTER, STATE OF NEW JERSEY, JOHN DOES 1-10, JANE DOES 1-10,
               ABC CORP 1-10
05/22/2021     TRACK ASSIGNMENT Notice submitted by Case Management                           LCV20211269905   05/22/2021
               PROOF OF SERVICE submitted by DUNNE, FREDERICK, RICHARD of DUNNE DUNNE
06/09/2021                                                                                    LCV20211400489   06/09/2021
               & COHEN LLC on behalf of JAMES HALE against STATE OF NEW JERSEY
               PROOF OF SERVICE submitted by DUNNE, FREDERICK, RICHARD of DUNNE DUNNE
06/09/2021                                                                                    LCV20211400518   06/09/2021
               & COHEN LLC on behalf of JAMES HALE against LYONS VA MEDICAL CENTER
               AMENDED COMPLAINT submitted by DUNNE, FREDERICK, RICHARD of DUNNE
06/24/2021     DUNNE & COHEN LLC on behalf of JAMES HALE against UNITED STATES                LCV20211515512   06/24/2021
               DEPARTMENT OF VE
               PROOF OF SERVICE submitted by DUNNE, FREDERICK, RICHARD of DUNNE DUNNE
07/01/2021     & COHEN LLC on behalf of JAMES HALE against UNITED STATES DEPARTMENT OF        LCV20211568284   07/01/2021
               VETERAN AFFAIRS
               DEFICIENCY NOTICE: re: AMENDED COMPLAINT [LCV20211515512] -Please resubmit
07/08/2021                                                                                    LCV20211611502   07/08/2021
               the amended complaint as attorney's signature is missing. Thank you.
               AMENDED COMPLAINT submitted by DUNNE, FREDERICK, RICHARD of DUNNE
               DUNNE & COHEN LLC on behalf of JAMES HALE against LYONS VA MEDICAL
07/08/2021                                                                                    LCV20211611542   07/08/2021
               CENTER, UNITED STATES DEPARTMENT OF VETERAN AFFAIRS, ABC CORP 1-10,
               JANE DOES 1-10, JOHN DOES 1-10
